                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


FAYE R. HOBSON,                                 )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )       Case No. 3:16-cv-0774
                                                )       Judge Aleta A. Trauger
RETIRED GENERAL JAMES MATTIS,                   )
Secretary, Department of Defense,               )
                                                )
       Defendant.                               )
                                                )


                                            ORDER

       As an initial matter, the court takes judicial notice that Retired General James Mattis was

confirmed as Secretary of Defense on January 20, 2017. He is automatically substituted as the

defendant in this action by operation of Rule 25(d) of the Federal Rules of Civil Procedure. The

Clerk is DIRECTED to make this change on the docket.

       Before the court are the plaintiff’s Written Objections (Doc. No. 25) to the magistrate

judge’s December 19, 2016 Order (Doc. No. 23) purporting to grant the defendant’s Motion to

Dismiss Improper Parties (Doc. No. 21).

       The court construes the magistrate judge’s Order as a Report and Recommendation

(“R&R”), since it addresses a dispositive matter. Accordingly, the court has reviewed de novo

the Motion to Dismiss Improper Parties. For the reasons discussed in the accompanying

Memorandum, the plaintiff’s Objections are OVERRULED, the R&R is ACCEPTED as

modified by the court’s Memorandum, and the defendants’ motion (Doc. No. 21) is GRANTED.

All claims against the individual defendants named in this action—Steven Won, Jennifer Kehe,




     Case 3:16-cv-00774 Document 55 Filed 05/02/17 Page 1 of 2 PageID #: 642
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Susan (Shelly) Kennedy, Dr. Judith Allen, Thomas Brady, and Linda Curtis—are hereby

DISMISSED.

      It is so ORDERED.




                                            ALETA A. TRAUGER
                                            United States District Judge




   Case 3:16-cv-00774 Document 55 Filed 05/02/17 Page 2 of 2 PageID #: 643
